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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

UNITED STATES OF AMERICA,                 §
                                          §
      Plaintiff,                          §
                                          §
v.                                        §     CASE NO.    7:19-CV-403
                                          §
FISHER INDUSTRIES, FISHER SAND            §
AND GRAVEL CO., AND NEUHAUS &             §
SONS, LLC,                                §
                                          §
      Defendants.                         §
_____________________________________________________________________________

                AMENDED TEMPORARY RESTRAINING ORDER
_____________________________________________________________________________

         Plaintiff United States of America, having filed its Complaint, seeking, inter alia, a

  temporary restraining order, preliminary injunction and other equitable relief in this matter,

  and having moved for an Emergency Temporary Restraining Order and other relief under

  Rule 65 of the Federal Rules of Civil Procedure, Fed. R. Civ. P. 65, and the Court, having

  considered the Complaint, motion and affidavits filed in support and having heard arguments

  of counsel for the parties for and against the requested relief at a status conference held on

  December 12, 2019, finds that:

                                         FINDINGS OF FACT

         1. This Court has jurisdiction over the subject matter of this case and there is good

  cause to believe it will have jurisdiction over Defendants.

         2. Venue lies properly with this Court.

         3. There is good cause to believe that Defendants Fisher Industries, Fisher Sand and

  Gravel Co. and their subsidiaries have engaged in, and are likely to engage in, acts that violate

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or have violated the requirements of the USIBWC pursuant to the 1970 Treaty between the

United States and Mexico. (Treaty to Resolve Pending Boundary Differences and Maintain

the Rio Grande and Colorado River as the International Boundary, US – Mex, Nov. 23, 1970,

TIAS 7313.).

       4. There is good cause to believe that the United States has a substantial likelihood of

prevailing on the merits of this action.

       5. There is good cause to believe that the United States has suffered and will continue

to suffer immediate and irreparable damage if the temporary restraining order is not granted.

       6. There is good cause to believe that the threatened injury to the United States

substantially outweighs any threatened harm to the Defendants.

       7. There is good cause to believe that granting the temporary restraining order will not

disserve the public interest.

       8. THEREFORE, IT IS ORDERED that Plaintiff United States’ Motion for a

Temporary Restraining Order and Preliminary Injunction is hereby GRANTED and

AMENDED as follows. Pending a preliminary injunction hearing, Defendants Fisher

Industries and Fisher Sand and Gravel Co. (and any entity acting on their behalves who

receive actual notice of this Order) are hereby immediately restrained and enjoined as follows:

      (a) Constructing a bollard structure, wall or similar structure, pouring concrete or any
          other permanent structure within the floodplain within the floodplain of the Rio
          Grande River on land described as an 807.73 gross acre tract of land out of the WEST
          ADDITION TO SHARYLAND SUBDIVISION, Lots 9-1, 9-2, and Parts of Lots 9-
          3, 9-4 and Parts of Lots 10-1, 10-2, and 10-3 and Part of Porcion 53 and 54, Hidalgo
          County, Texas, as per map or plat thereof recorded in Volume 1, Page 56, Map
          Records, Hidalgo County, Texas as described in the Special Warranty Deed filed as
          Document No. 2752394, Official Records of Hidalgo County, Texas (See Exhibit 1 to
          the United States’ Motion Docket No. 5) until such time as WBTW and Fisher
          Industries comply with the requirements of the USIBWC pursuant to the 1970 Treaty
          between the United States and Mexico. (Treaty to Resolve Pending Boundary

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            Differences and Maintain the Rio Grande and Colorado River as the International
            Boundary, US – Mex, Nov. 23, 1970, TIAS 7313.);

        (b) Shaving, excavating, grading or cutting of the bank of the Rio Grande River and all
            construction activities of any kind from the water’s edge of the Rio Grande River to
            the location of the trench containing rebar which is constructed for the installation of
            the bollard wall as it exists on December 12, 2019 along the portion described in
            paragraph (a) until such time as USIBWC fulfills its analysis and other requirements
            pursuant to the 1970 Treaty between the United States and Mexico. (Treaty to Resolve
            Pending Boundary Differences and Maintain the Rio Grande and Colorado River as
            the International Boundary, US – Mex, Nov. 23, 1970, TIAS 7313.); and

        (c) Nothing in this order prohibits Defendants Fisher Industries, Fisher Sand and Gravel,
            Co. and any related entities from certain specified activities, and accordingly, such
            Defendants are permitted to clear and grub except in that portion specified above in
            paragraph (b) and the Rio Grande River, construct the trench in which Defendants
            propose to construct the bollard wall, place rebar and conduit in the trench and seed
            and plant those portions of the bank which were graded prior to the Court’s Temporary
            Restraining Order entered on December 5, 2019 (Docket No. 7).

    IT IS FURTHER ORDERED:

    9. No bond is required by the United States of America pursuant to Rule 65(c) F.R.C.P.

    10. This Amended Temporary Restraining Order shall expire at 6:00 pm on December 20,

2019, unless extended by agreement of the parties or extended by further order of this Court. The

Court hereby sets this matter for a temporary injunction hearing on December 20, 2019 at

__________, a.m.

    11. The Court will hold a status hearing on Thursday, December 19, 2019 beginning at 1:30

p.m. The parties may file a written status report by Wednesday, December 18, 2019 at 5:00 p.m.

requesting that the status conference be continued.




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IT IS SO ORDERED.

  SIGNED and issued at ______ __.m., this ____ day of ______________, 2019.




                                            RANDY CRANE
                                            UNITED STATES DISTRICT JUDGE




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